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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


THE ASSOCIATED PRESS,

               Plaintiff,

v.                                                   Case No. 25-cv-532-TNM

TAYLOR BUDOWICH, et al.,

               Defendants.


                   [PROPOSED] ORDER GRANTING PLAINTIFF’S
                 MOTION TO ENFORCE PRELIMINARY INJUNCTION

       This matter came before the Court on the motion of Plaintiff The Associated Press to

enforce the preliminary injunction entered in this matter on April 8, 2025. Having reviewed the

papers filed in support of the motion, any response(s) thereto, and being fully advised, the Court

hereby GRANTS Plaintiff’s motion and orders that Defendants shall, by 5:00 p.m. ET on April

16, 2025, file a status report to inform the Court on the actions they have taken to comply with

the preliminary injunction.

       SO ORDERED this ____ day of _________, 2025




                                                     UNITED STATES DISTRICT JUDGE
